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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                              BALTIMORE DIVISION

DANIEL ZACHARY JOHNSON,             )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )             Civil Action No. 1:17-cv-00077-GLR
                                    )
FAXONME, LLC D/B/A RENTER           )
RESUME, et al.                      )
                                    )
      Defendants.                   )
____________________________________)

MOTION TO DISMISS DEFENDANT OMNI DATA, LLC d/b/a TRADE HOUSE DATA

       Pursuant to Rule 15(b) of the Federal Rules of Civil Procedure, the Plaintiff, Daniel

Zachary Johnson and Defendant Omni Data, LLC, d/b/a Trade House Data (“Trade House

Data”) jointly move this Court to dismiss this case against Trade House Data with prejudice with

each party bearing its own costs. Accordingly, the parties requested that the Court enter the

Proposed Order attached hereto as Exhibit 1.

Respectfully submitted,

_/s/ Kristi C. Kelly____________                 _/s/ Brian A. Scotti_______
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                                                 Counsel for Omni Data, LLC d/b/a Trade
                                                 House Data
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                              CERTIFICATE OF SERVICE

       I hereby certify that on the 9th day of November, 2017, I will electronically file the
foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification
of such filing (NEF) to all counsel of record.



                                           _/s/ Kristi C. Kelly____________
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